                  Case 18-50946      Doc 524    Filed 07/23/19   Page 1 of 4
SO ORDERED.

SIGNED this 23rd day of July, 2019.




                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          WINSTON SALEM DIVISION

   IN RE:                            )
   Product Quest Manufacturing, LLC )                   Case No. B-18-50946C-7W
                              Debtor )

                ORDER GRANTING TRUSTEE'S AMENDED
      MOTION TO EMPLOY NEXSEN PRUET, PLLC, AS SPECIAL COUNSEL

         THIS MATTER coming on for hearing, upon proper notice, before the Honorable
   Lena M. James, Bankruptcy Court Judge for the Middle District of North Carolina, on
   July 12, 2019, upon the Motion to Employ Nexsen Pruet, PLLC, as Special Counsel filed
   herein by Trustee on May 13, 2019, as amended by the First Amendment to Motion to
   Employ Nexsen Pruet, PLLC, as Special Counsel, filed herein by Trustee on July 1, 2019
   (the "Amended Motion to Employ").
         Present at the hearing were Trustee C. Edwin Allman III; Attorney Matthew
   Patrick Weiner representing Madison Capital Funding, LLC, for itself and as agent for
   the lender group ("Madison"); and Bankruptcy Administrator William P. Miller.
         The Court, having heard from Trustee and considering the record, makes the
   following findings:
         1.     In the Amended Motion to Employ, Trustee sought authority to employ
   Nexsen Pruet, PLLC ("Nexsen Pruet") as special counsel for the purpose of performing
   an investigation, including the preparation of an investigative report and, if appropriate
                  Case 18-50946         Doc 524      Filed 07/23/19       Page 2 of 4



and authorized, pursuing various claims against the former officers and/or owners of this
Debtor and associated Debtors1 (the "D&O Claims").
        2.      In the Amended Motion to Employ, Trustee sought authority to pay the
hourly fees of Nexsen Pruet for the initial investigation and preparation of a report
regarding the D&O Claims as well as expenses incurred and approved by Trustee and
Madison in both the investigation and pursuit of the D&O Claims from cash collateral in
an amount not to exceed $47,500.00 (the "Investigation and Expense Fund").                            The
Amended Motion to Employ sought authority to repay Madison, without interest, for any
amount actually disbursed from cash collateral for the Investigation and Expense Fund
from net proceeds arising from the settlement or other disposition of any D&O Claims
asserted by Nexsen Pruet.
        3.      Madison also agreed that the decision whether to pursue claims or resolve
claims is solely vested in the Trustee and subject only to constraints that may naturally
arise from the Bankruptcy Administrator's Office and the Court; and, Madison, as well as
all other creditors, would have the right to be heard on any motion filed the Trustee
pertaining to the D&O Claims, including motions to compromise.
        4.      Trustee's Amended Motion to Employ also sought authority to pay to
Nexsen Pruet a one-third (1/3) contingency fee of any recovery from their pursuit of any
of the D&O Claims.
        5.      On July 8, 2019, the Bankruptcy Administrator filed a Response to the
Trustee's Amended Motion to Employ Nexsen Pruet stating that he had no objection to
the Trustee's Amended Motion to Employ Nexsen Pruet (the "BA Response").
        NOW, THEREFORE, based on the foregoing and for other good and sufficient
cause shown, it is hereby
        ORDERED that:
        1.      The Amended Motion is granted;

1
  Individually named as follows: Ei LLC (Case No. B-18-50945C-7W); Product Quest Manufacturing, LLC (B-18-
50946C-7W); Scherer Labs International, LLC (B-18-50948C-7W); Product Quest Logistics, LLC (B-18-509450C-
7W); JBTRS, L.L.C. (B-18-50951C-7W); and, PQ Real Estate LLC (B-18-50952C-7W). Hereinafter collectively
referred to as "PQM Cases."
                 Case 18-50946    Doc 524   Filed 07/23/19   Page 3 of 4



       2.     The Trustee is authorized to employ Nexsen Pruet, PLLC, to serve as
Special Counsel for the purpose stated herein and in the Amended Motion to Employ;
       3.     Trustee is authorized to pay to Nexsen Pruet any court approved fees and
expenses up to but not exceeding $47,500.00 from the cash collateral; and,
       4.     Trustee is authorized to repay to Madison any amount disbursed for the
Investigation and Expense Fund, without interest, from net proceeds received by the
bankruptcy estate for the pursuit of the D&O Claims by Nexsen Pruet either through
litigation or settlement.



                                 - END OF DOCUMENT -
                Case 18-50946     Doc 524     Filed 07/23/19   Page 4 of 4



PARTIES OF INTEREST:
All parties named in the Service List filed by the Trustee with the court on June 10,
2019 [docket #503] in the manner set forth in said document.
